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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MOMO ENTERPRISES, LLC, a dissolved                     )
Limited Liability Company, ANASTACIO                   )
GONZALEZ, PLAZA LOUNGE, LLC, a                         )
dissolved Limited Liability Company,                   )
                                                       )
               Plaintiffs,                             )
                                                       )
       v.                                              )       Case No. 15-cv-11074
                                                       )
BANCO POPULAR OF NORTH AMERICA,                        )       Judge Sharon Johnson Coleman
POPULAR INC., POPULAR COMMUNITY                        )
BANK, CHUHAK & TECSON, PEAK                            )
PROPERTIES, DAVID J. AXELROD AND                       )
ASSOCIATES, THOMAS H. HORN,                            )
TERENCE G. TIU, DANIEL J. FUMAGALLI,                   )
JOSHUA S. HYMAN, KARA ALLEN,                           )
MICHAEL L. ZUCKER, ROBERT S. STONE,                    )
DAVID BALL, JENNIFER CIRAR, DIVISON                    )
POINT TERRACES CONDO ASSOCIATION,                      )
DPT CONDO PRESIDENT, DPT CONDO                         )
SECRETARY, KOVITZ SHIFRIN & NESBIT,                    )
JOHN LEYDON, KATE LEYDON, 1700 W.                      )
DIVISION LLC, JEFFREY E. ROCHMAN,                      )
DAVID J. AXELROD, CHICAGO TITLE &                      )
TRUST CO., NORTHERN TITLE CO,                          )
UNNAMED CO-CONSPIRATORS, et al.,                       )
                                                       )
               Defendants.                             )
                                                       )

                             MEMORANDUM OPINION AND ORDER

       Before this Court is Plaintiffs’ motion for leave to file a third amended complaint. Plaintiffs’

proposed complaint, (Dkt. 130-1), seeks to remedy the deficiencies in the second amended

complaint (“SAC”) that this Court identified in its March 30, 2017 dismissal order (“dismissal

order”) (Dkt. 127); Momo Enterprises, LLC v. Banco Popular of N. Am., No. 15-CV-11074, 2017 WL

1178530 (N.D. Ill. Mar. 30, 2017). Defendants North American Title Co., Popular, Inc., 1700 W.

Division LLC, John Leydon, the Bank Group, Kate Leydon, the DPT Defendants, The Peak
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Defendants, Kovitz Shifrin & Nesbit, P.C. (“KSN”), the Axelrod Defendants, and Chicago Title

Trust & Co. all oppose Plaintiffs motion. 1 For the following reasons, Plaintiffs’ motion for leave to

amend [130] is denied. Accordingly, this case is terminated.

Background

           Plaintiffs’ SAC challenged the foreclosure and sale of residential and commercial

condominiums Plaintiff Gonzalez previously owned.                    Plaintiffs alleged that the sales and

foreclosures were the result of a large conspiracy involving everyone from their neighbors to

attorneys to banks, perpetrated through multiple lawsuits, fraudulent transfers, and a series of other

torts. 2

           This Court dismissed the SAC on various grounds. First, this Court dismissed the claims

against Popular, Inc. for lack of personal jurisdiction. (Dkt. 127 at 15-16). Second, this Court

rejected Plaintiffs’ arguments that the state court judgments were procured through fraud. (Dkt. 127

at 17-21). Thus, this Court found that many of the claims, which sought to set aside the state court

foreclosure judgments, were barred by the Rooker-Feldman doctrine. Third, this Court dismissed a

majority of the state law claims for lack of diversity. (Dk. 127 at 21-22). Fourth, this Court

dismissed several claims with prejudice for being untimely. (Dkt. 127 at 22-25). Finally, this Court

dismissed the remaining federal claims for failing to state a claim. (Dkt. 127 at 25-26).

Legal Standard

           Courts should freely give leave to amend when justice so requires. Fed. R. Civ. P. 15(a)(2).

Courts may deny leave to amend based on undue delay, bad faith, dilatory motive, prejudice, or

1 The Bank Group includes the following: Banco Popular of North America (“Banco Popular”), Popular Community

Bank (“PCB”), Thomas H. Horn (“Horn”), Chuhak & Tecson, P.C. (“Chuhak”), Terrence G. Tiu (“Tiu”), Daniel J.
Fumagalli (“Fumagalli”), Joshua S. Hyman (“Hyman”), and Kara Allen’s (“Allen”). The DPT Defendants include the
following: Robert Stone (“Stone”), David Ball (“Ball”), Jennifer Cirar (“Cirar”), DPT Condo Association (“DPT Condo
Association”), DPT Condo President (“DPT President”), and DPT Condo Secretary’s (“DPT Secretary”). The Peak
Defendants include the following: Michael Zucker (“Zucker”) and Peak Properties, LLC (“Peak Properties”). The
Axelrod Defendants include the following: David J. Axelrod and David J. Axelrod and Associates.
2 For a more thorough recitation of the allegations in this case, please see the background section in this Court’s

dismissal order.

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futility. Naperville Smart Meter Awareness v. City of Naperville, 114 F. Supp. 3d 606, 610 (N.D. Ill. 2015)

(Lee, J.) (citing Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d 222 (1962)). “Futile

repleadings include restating the same facts using different language, reasserting claims previously

determined, and the inability to survive a motion to dismiss.” Naperville, 114 F. Supp. 3d at 610.

(citations omitted).         A district court does not abuse its discretion by dismissing a claim with

prejudice where the plaintiff repeatedly fails to remedy deficiencies. Id. at 612 (collecting cases).

Analysis

           As an initial matter, Plaintiffs’ motion for leave to amend is bare bones. Plaintiffs’ motion

simply states, “The Plaintiffs hereby submit their Motion for Leave to file the enclosed Third

Amended Complaint.” (Dkt. 130 at 2). Plaintiffs do not inform this Court of how the proposed

complaint cures the deficiencies this Court identified in the dismissal order. Instead, Plaintiffs

required this Court to scour the 190-page, 33-count proposed complaint to determine whether

Plaintiffs have remedied the deficiencies in the 179-page, 34-count SAC. The gist of the proposed

complaint is the same as the SAC – Defendants purportedly engaged in a conspiracy to defraud

Plaintiffs of the residential and commercial condominiums previously owned by Gonzalez.

Plaintiffs’ proposed complaint asserts the same claims as the SAC, with the exception of Count

XXX (violation of Title VII), 3 which are supported by substantially similar allegations.

a. Personal jurisdiction

           Plaintiffs first resurrect Popular, Inc. as a defendant. Personal jurisdiction exists if an out-of-

state defendant has minimum contacts with the state such that the maintenance of the suit does not

offend traditional notions of fair play and substantial justice. Kipp v. Ski Enter. Corp. of Wisc., Inc., 783

16 F.3d 695, 697 (7th Cir. 2015) (citation omitted). A court may assert general personal jurisdiction

over a foreign corporation if its affiliations with a state are so continuous and systematic as to render


3   Count XXX of the SAC is dismissed with prejudice as Plaintiffs do not attempt to re-plead it.

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it essentially at home in the forum state. Daimler AG v. Bauman, 134 S. Ct. 746, 754, 187 L. Ed. 2d

624 (2014) (citations omitted). Specific personal jurisdiction exists where a defendant’s contacts

with the forum are linked to the claims. Kipp, 783 F.3d at 698 (citation omitted).

         Plaintiffs allege that Popular, Inc. directed Banco Popular to sell certain Chicago assets and

that, “since Popular, Inc. shared the same Chicago Attorneys with [Banco Popular], at the times that

are relevant to [the Illinois Uniform Fraudulent Act] claim, it is reasonable to assume that Popular,

Inc. was aware of and approved all of the wrongful conduct committed against [Plaintiffs] by the

[Banco Popular] Attorneys.” (Dkt. 130-1 ¶¶ 232, 235). Plaintiffs also allege that Banco Popular and

Popular, Inc. have board members in common, some of which are also board members of a Banco

Popular charity based in Illinois. (Dkt. 130-1 ¶¶ 236, 237). Plaintiffs do not argue that these

allegations put Popular, Inc. at “home” in Illinois. The question, then, is whether Plaintiffs have

sufficiently alleged that there is specific jurisdiction over Popular, Inc..

         None of the parties offer any argument on whether the new allegations in the proposed

complaint are sufficient such that this Court should assert personal jurisdiction over Popular, Inc.

This Court, therefore, declines to rule on this issue. A ruling on this issue, however, is not necessary

because, as discussed below, this Court dismisses the complaint in its entirety on other grounds.

b. Subject matter jurisdiction

         The Rooker-Feldman doctrine deprives federal courts of jurisdiction over cases “brought by

state-court losers complaining of injuries caused by state-court judgments rendered before the

district court proceedings commenced and inviting district court review and rejection of those

judgments.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284, 125 S. Ct. 1517, 161 L.

Ed. 2d 454 (2005). Rooker-Feldman also bars federal courts from hearing claims that are “inextricably

intertwined” with the state court judgment, i.e., that seek to indirectly set aside the state court

judgment. Taylor v. Fed. Nat. Mortg. Ass’n, 374 F.3d 529, 533 (7th Cir. 2004) (citation omitted).

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Federal courts, however, may hear a claim that is “inextricably intertwined” with the state court

judgment only if the plaintiff did not have a reasonable opportunity to raise the claim in the state

court proceedings, Id., or where the state court’s jurisdiction was acquired through the use of

extrinsic fraud. Long v. Shorebank Dev. Corp., 182 F.3d 548, 555 (7th Cir. 1999) (citations omitted)

(extrinsic fraud refers to situations where the losing party has been prevented from exhibiting fully

his case).

        Plaintiffs attempt to address this Court’s Rooker-Feldman concerns in two ways.            First,

Plaintiffs allege that they never had a reasonable opportunity to raise their constitutional, federal

statutory, or state claims in the Circuit Court of Cook County. (Dkt. 130-1 at 114). In support,

plaintiffs claim that Defendants offered “fraudulent” and “perjured” testimony, and they identify

issues related to the commercial condominium PIN number for the commercial condominium.

Plaintiffs, however, fail to specify what claims they were not able to raise in state court or how they

were denied a reasonable opportunity to raise them. They also do not allege how Defendants’

“fraud” prevented them from participating in the state court proceedings. Moreover, Plaintiffs’

various 735 ILCS 5/2-1401 petitions indicate that they were able to participate in the foreclosure

proceedings and raise arguments regarding the PIN number at issue. (see, e.g. Dkt. 134 ¶ 6).

        Plaintiffs also seek to cure the Rooker-Feldman deficiencies by modifying their requested relief.

In the SAC, Plaintiffs asked this Court to void various state court orders; in the proposed amended

complaint, they simply ask for damages. This requested relief, however, does not change this

Court’s previous Rooker-Feldman analysis as the nature of Plaintiff’s claims still relate to the injuries

caused by the foreclosure judgments, injuries which could have been addressed in state court. See,

e.g., Garry v. Geils, 82 F.3d 1362, 1370 (7th Cir. 1996) (citations omitted) (Rooker-Feldman analysis was

not affected simply because plaintiffs only sought damages).




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        The allegations in the proposed complaint make it clear that a majority of the previously

dismissed claims are related to the condominium foreclosure judgments, and none of the allegations

suggest that Plaintiffs were denied a reasonable opportunity to challenge the foreclosure judgments

or that they were unable to fully present their case. Plaintiffs have not identified anything that

would cause this Court to reassess its previous Rooker-Feldman analysis. Accordingly, this Court finds

that re-pleading the claims that were previously barred is futile and grants the following relief:

    •   Count I (fraud on the court) is dismissed as to the DPT Defendants and KSN with
        prejudice. Plaintiffs previously sought a declaration that “the Judgment of Foreclosure and
        sale of [the residential condominium], and every transaction into which it entered VOID;”
        the proposed complaint only asked for damages. The allegations supporting the claim,
        however, are nearly identical to those in the SAC and clearly challenge the foreclosure and
        sale of the residential condominium.
    •   Count II (fraud on the court) is dismissed as to the Bank Group with prejudice, for similar
        reasons as Count I except that the relief requested relates to the commercial condominium.
    •   Count III (fraud on the court) is dismissed as to the Bank Group with prejudice. Count III
        is inextricably linked to the state court foreclosure judgment and sale of the commercial
        condominium. This count could have been raised at the state level in post-judgment relief,
        pursuant to 735 ILCS 5/2-1401(f).
    •   Count V (violation of due process) is dismissed as to the DPT Defendants and KSN with
        prejudice as this count remains inextricably intertwined with the state court foreclosure
        judgment and sale of the residential condominium and rooftop parcel.
    •   Count VI (violation of due process) is dismissed as to the Bank Group with prejudice as this
        count remains inextricably intertwined with the state court foreclosure judgment and sale of
        the commercial condo.
    •   Count VII (violation of due process) is dismissed as to the Bank Group with prejudice.
        Count VII is inextricably intertwined with the state foreclosure and sale proceedings of the
        Gonzalez restaurant, which was located in the commercial condominium, and it is not an
        independent injury arising from Defendants’ conduct.
    •   Count IX (violation of the Sherman Act and Clayton Act – bid rigging) is dismissed as to all
        named defendants with prejudice because this claim is inextricably intertwined with the
        foreclosure of the commercial condominium.
    •   Count XIII (unjust enrichment) is dismissed as to Banco Popular with prejudice and Count
        XIV (unjust enrichment) is dismissed as to John Leydon and 1700 W. Division LLC with
        prejudice as these claims clearly remain related to the foreclosure judgment and sale of the
        commercial condominium.


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    •    Count XXVII (wrongful eviction) is dismissed as to DPT Condo, Banco Popular, and
         Chuhak with prejudice as it is inextricably linked to the commercial condominium
         foreclosure. Moreover, Plaintiffs challenged the foreclosure and eviction in state court.
    •    Count XXXIII (Civil Conspiracy) is dismissed as to all named defendants with prejudice as
         the conspiracy claim is inextricably intertwined with the state court foreclosures and sales.
         Plaintiffs have had multiple opportunities over the last five and a half years to raise
         conspiracy issues in their 2-1401(f) petitions.

c. Timeliness

         The proposed complaint includes claims that this Court previously dismissed with prejudice

based on the statute of limitations. Plaintiffs re-plead these claims despite the fact that a dismissal

with prejudice means that the claims cannot be re-pleaded in a subsequent complaint. Sandoval v.

Godniez, No. 13-CV-01295-MJR, 2014 WL 6616389, at *2 (S.D. Ill. Nov. 21, 2014). While it is well

within its right to end its discussion of this point here, this Court, in light of the history of this case,

finds that the previously dismissed claims warrant attention.

         Plaintiffs attempt to save these claims by arguing that there is evidence of a continuing tort,

despite this Court previously rejecting Plaintiffs’ continuing tort theory. Under a “continuing tort”

theory, where a tort involves continuous or repeated injurious behavior by the same actor(s) and of a

similar nature, a plaintiff’s cause of action does not accrue, and the limitations period does not begin

to run, until the date the final injury occurs or the tortious acts cease. Taylor v. Bd. of Educ. of City of

Chicago, 10 N.E.3d 383, 395-96, 2014 IL App. (1st) 123744, ¶ 46 (citations omitted). The continuing

tort theory will not apply where acts within the limitations period do not resemble or relate to the

earlier acts. Robinson v. Morgan Stanley, No. 06 C 5158, 2007 WL 2815839, at *9–10 (N.D. Ill. Sept.

24, 2007) (Holderman, C.J.). Plaintiffs, in the proposed complaint, allege a new set of facts that

purportedly extend the limitations period.        (Dkt. 130-1 ¶ 400).      Plaintiffs, however, offer no

argument as to how these new facts resemble or relate to earlier tortious acts. Each of the torts

alleged in the complaint and the additional factual allegations in Dkt. 130-1 ¶ 400 are also time-


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specific and discrete injuries. Hukic v. Aurora Loan Servs., 588 F.3d 420, 435-36 (7th Cir. 2009)

(continuing tort rule did not apply to claims that did not depend on unbroken course of activity).

Moreover, the proposed complaint offers no new allegations that alter this Court’s previous position

on the tolling of the statute of limitations based on the doctrines of equitable estoppel, equitable

tolling, and duress. (Dkt. 127 at 22-24). Accordingly, this Court’s previous order dismissing the

following counts with prejudice for being untimely, (Dkt. 127 at 25), shall stand: Count XXIX (Fair

Debt Collection Practices Act), Count XXXII (Violation of the Fair Housing Act), and Count

XXXIV (Civil conspiracy to deprive Plaintiffs of their civil rights pursuant to 18 U.S.C. § 241 and 42

U.S.C. § 1985(3)).

d. Failure to state a claim

         In their proposed complaint, Plaintiffs re-plead four claims for violations of their substantive

and procedural due process rights. (Dkt 130-1, Counts V-VIII). These counts are essentially the

same as Counts V-VIII in the second amended complaint. This Court previously dismissed Count

VIII for failure to state a claim because Plaintiffs did not sufficiently allege that the Axelrod

Defendants were state actors. (Dkt 127 at 25-26); see Hinman v. Lincoln Towing Serv., Inc., 771 F.2d

189, 192 (7th Cir. 1985) (“[T]he Fourteenth Amendment erects no shield against merely private

conduct, however discriminatory or wrongful”) (internal quotations omitted); Methodist Med. Center of

Ill. v. Taylor, 489 N.E.2d 351, 354, 140 Ill. App. 3d 713 (3d Dist. 1986). In the proposed complaint,

Plaintiffs conclude, without offering any explanation, that the Axelrod Defendants were armed with

state powers because they were pursuing legal action against Plaintiffs in state court. (Dkt. 130-1

¶ 392). Accordingly, Count VIII is dismissed as to the Axelrod Defendants with prejudice as

Plaintiffs have demonstrated that any amendment would be futile. 4


4 This Court has already dismissed Counts V-VII based on Rooker-Feldman. (see Analysis, sec. b of this order). This

Court notes, however, that Plaintiffs have not alleged that the DPT Defendants (Count V) or the Bank Defendants
(Counts VI and VII) are anything but private actors. Thus, this would also be grounds for dismissal of Counts V-VII.

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e. Diversity jurisdiction

         This Court previously dismissed the remaining state law claims because the parties lacked

diversity. (Dkt. 127 at 21-22). Rather than address the diversity issues, Plaintiffs simply allege,

without explanation, that this Court has supplemental jurisdiction over the remaining claims

pursuant to 28 U.S.C. § 1367. The prevailing presumption in this circuit is that pendent state law

claims should be dismissed without prejudice after dismissal of the federal claims. Doe v. Catholic

Archdiocese of Chicago, No. 09-CV-7656, 2011 WL 65994, at *3 (N.D. Ill. Jan. 10, 2011) (citing Wright v.

Associated Insurance Companies, Inc., 29 F.3d 1244, 1251 (7th Cir.1994)). Exceptions to this rule arise

when: (1) the statute of limitations has run on the pendent claim, precluding the filing of a separate

suit in state court; (2) substantial resources have already been expended, necessitating a substantial

duplication of effort in a new state court suit; or (3) it is absolutely clear how the pendent claims will

be decided. Id. (citing Sharp Electronics Corp. v. Metropolitan Life Insurance, 578 F.3d 505, 514-15 (7th

Cir.2009)). Neither party argues that these exceptions apply to the remaining state law claims. This

Court therefore declines to exercise supplemental jurisdiction over the remaining state law claims.

Accordingly, Counts IV, X, XI, XII, XV, XVI, XVII, XVIII, XIX, XX, XXI, XXII, XXIII, XXIV,

XXV, XXVI, XXVIII, and XXXI are dismissed with prejudice.

Conclusion

         Plaintiffs have demonstrated that amendment is futile, therefore Plaintiffs’ motion for leave

to amend [130] is denied and this case is terminated. Counts I, II, III, V, VI, VII, VIII, IX, XIII,

XIV, XXVII, XXIX, XXX, XXXII, XXXIII, and XXXIV are dismissed with prejudice.

         The remaining claims, Counts IV, X, XI, XII, XV, XVI, XVII, XVIII, XIX, XX, XXI,

XXII, XXIII, XXIV, XXV, XXVI, XXVIII, and XXXI are also dismissed with prejudice. This




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Court will no longer entertain these claims or any further filings. If Plaintiffs choose to proceed

with these claims in another court, they should exercise caution. 5


         IT IS SO ORDERED.

                                                       _____________________________
                                                       SHARON JOHNSON COLEMAN
                                                       United States District Judge

DATED: September 30, 2017




5 If Plaintiffs pursue these claims elsewhere, they would be well advised to carefully consider Defendants’ arguments in
the briefing on the motion to dismiss the SAC. While the Court did not address many of the substantive arguments
raised in those briefs, it is clear that some of them may have merit.




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